     QNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK

     1 (718) 613-2600

 1                UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK

 2   In re Payment Card Interchange Fee and          )           No. 05-MD-01720 (MKB)(Jj^cLERlCS^OFFKl:  E
                                                                                     U.S. DISTRICT COURT E.D.N.Y.
 3   Merchant Discount Antitrust Litigation          )
                                                                                     ★     JUNH 2019
 4                                                   )

 5                STATEMENT OF OBJECTION TO FEES. EXPENSES, AND SERVICE
                                                                                   anJ^OKLYN OFFjlCE
 6   I am a member of the Rule 23(b)(3) Settlement Class in the case called In re

 7   Payment Card Interchange Fee and Merchant Discount Antitrust Litigation.

8    I am a Class Member and an Authorized Claimant because of Gemstone Homes &


 9   Properties at 1877 Clark Drive Tucker Georgia 30084 while accepting cards.

10   I object to the Class Counsel's requests and request for the Class Counsel's fees,

11   expenses, and the request for service awards to this Rule 23(b)(3) Class Plaintiff.

12   I reason for objecting thereby that the reimbursement of out-of-pocket and service

13   awards wouldn't have been immediately delivered to this Rule 23(b)(3) Class

14   Plaintiff and herein now will be immediately delivered as 31 U.S.C. § 3324 a

15   lawsuit funding advance to this Rule 23(b)(3) Class Plaintiff in the minimum

16   $250,000.00 amount without return payment with the ruling not for the Rule 23(b)(3)

17   Class Plaintiff or the dismissed Class Action.


18   I reason for objecting the case work costs thereby that the Rule 23(b)(3) Class

19   Counsel who is appointed and the Rule 23(b)(3) Class Plaintiff will not agree on an

20   up to amount and will have to agree to the specific percent of the $780,000,000.00

21   settlement or $78,000,000.00 to the Rule 23(b)(3) Class Counsels for the Court

22   judgment and the Defendant pay-out of $780 million to this Rule 23(b)(3) Class

23   Plaintiff.


24   I reason for objecting the litigation expenses thereby that the Rule 23(b)(3) Class

25   Counsel who is appointed and the Rule 23(b)(3) Class Plaintiff will not agree on an

26   up to amount and will have to agree to the specific dollar from the $780,000,000.00

27   settlement or $102,000,000.00 including the administrative costs of settlements,

28   the administrative costs of notices, and the service award advances to the Rule



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     UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK            ,

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 1   23(b)(3) Class Plaintiff before the judgment and pay-out of $780 million minus $180

 2   million to Rule 23(b)(3) Class Counsels' with the full and entire costs equal to

 3   $600 million cash or check amount to this Rule 23(b)(3) Class Plaintiff.

 4   The law 31 U.S.C. § 3324 Advances and advance payment instructions is evidence that

 5   support each of my objections.

 6   My per se personal information as a Rule 23(b)(3) Class Plaintiff is:

 7   Mr. Eric Felton Davis


 8   Gemstone Homes & Properties

 9   1877 Clark Drive Tucker Georgia 30084-6539

10   1 (678) 542-4980

11   The contact information for my lawyer representations are:

12   Mr. K. Craig Wildfang                          Mr. H. Laddie Montague, Jr.

13   Robins Kaplan LLP                            . Berger Montague PC

14   800 LaSalle Avenue                             1818 Market Street

15   Suite 2800                                     Suite 3600


16   Minneapolis MN 55402                           Philadelphia PA 19103

17   1 (612) 349-8500 Phone                         1 (800) 424-6690 Phone

18   1 (612) 339-4181 Fax                           1 (215) 875-4604 Fax

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 1   23(b)(3) Class Plaintiff before the judgment and pay-out of $780 million minus $180

 2   million to Rule 23(b)(3) Class Counsels' with the full and entire costs equal to

 3   $600 million cash or check amount to this Rule 23(b)(3) Class Plaintiff.

 4   The law 31 U.S.C. § 3324 Advances and advance payment instructions is evidence that

 5   support each of my objections.

 6   My per se personal information as a Rule 23(b)(3) Class Plaintiff is:

 7   Mr. Eric Felton Davis


 8   Gemstone Homes & Properties

 9   1877 Clark Drive Tucker Georgia 30084-6539

10   1 (678) 542-4980

11   The contact information for my lawyer representations are:

12   Mr. K. Craig Wildfang                           Mr. H. Laddie Montague, Jr.

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 2   In re Payment Card Interchange Fee and            )          No. 05-MD-01720 (MKB)(JO)

 3   Merchant Discount Antitrust Litigation            )

 4                                                     )

 5           STATEMENT OF OBJECTION TO THE SETTT-TaMRKPT Awn gp.TTT.igMB'WP AT.T.nr&TTn>jg


 6   Gemstone Homes & Properties is a member of the Rule 23(b)(3) Settlement Class in

 7   the case called In re Payment Card Interchange Fee and Merchant Discount Antitrust

 8   Litigation.

 9   Gemstone Homes & Properties is a Class Member and an Authorized Claimant because of

10   Gemstone Homes & Properties at 1877 Clark Drive Tucker Georgia 30084 while

11   accepting cards.

12   Gemstone Homes & Properties object to the settlement in this class action lawsuit.

13   We object to the cash settlement and the cash settlement allocation plan request,

14   cash pay-outs to, and cash pay-ins from this Rule 23(b)(3) Class Plaintiff and this

15   Rule 23(b)(3) Class Plaintiff requests for the Court settlement minimum of $780

16   million to this Rule 23(b)(3) Class Plaintiff with the Class Counsel's fees,

17   expenses, and the request for service awards to this Rule 23(b)(3) Class Plaintiff

18   shall apply to the settlement and the objections.

19   The law 31 U.S.C. § 3324 Advances and advance payment instructions is evidence that

20   support each of my objections in that only eight Rule 23(b)(3) Class Plaintiffs

21   exist for reimbursements and service awards from the $6.24 billion divided by eight

22   equal $780 million to each of the eight Rule 23(b)(3) Class Plaintiffs.

23   My per se personal information as a Rule 23(b)(3) Class Plaintiff is:

24   Mr. Eric Felton Davis


25   Gemstone Homes & Properties

26   1877 Clark Drive Tucker Georgia 30084-6539

27   1 (678) 542-4980


28   The contact information for my lawyer representations are:



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